        Case 1:20-cv-10832-AT-SN Document 923 Filed 11/09/23 Page 1 of 2




                                                       November 9, 2023


VIA ECF and EMAIL
Hon. Analisa Torres
United States District Judge
Southern District of New York

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)

Dear Judge Torres:

Pursuant to this Court’s October 24, 2023 scheduling order (ECF No. 922), the parties
respectfully propose a schedule for remedies discovery and briefing.

The parties agree that permissible discovery will include facts occurring in the period before the
filing of the SEC’s Complaint. The SEC proposes 90 days from the entry of a scheduling order
by the Court to conduct remedies-related discovery. Ripple is amenable to such a proposal so
long as such discovery is limited to pre-Complaint discovery. The SEC intends to seek certain
discovery that post-dates the Complaint that it considers relevant to its claims for injunctive and
monetary remedies, and Ripple reserves all rights to oppose such discovery. To the extent the
SEC seeks such discovery, and the Court permits it, Ripple reserves all rights to petition the
Court for an extension of any discovery deadline.

The parties further agree that, no later than 45 days after the entry of the scheduling order, Ripple
may serve on the SEC a superseding version of the proposed report by Anthony M. Bracco, and,
within 90 days of the scheduling order, the SEC may depose Mr. Bracco. See also ECF No. 472
at 1 n.1 (noting that motion practice as to Bracco report would be deferred until the remedies
phase). The SEC reserves its right to serve a rebuttal expert report or submit the declaration of a
summary witness to rebut Mr. Bracco’s report, and Ripple reserves its right to object to any such
report. If sought by the SEC and permitted by the Court, Ripple further reserves its right to seek
discovery, including a deposition, with respect to any such expert or witness that is otherwise
allowed by the Federal Rules of Civil Procedure as well as reserves its right to seek an extension
of the discovery deadline in the event a rebuttal report is served.

The parties agree that this discovery shall not be served on third parties in the first instance, but
reserve the right to seek leave from the Court, pursuant to Rule 45 of the Federal Rules of Civil
Procedure, to serve third party discovery requests. Both parties also reserve the right to oppose
any such request.

The SEC may file its brief with respect to remedies at any time, but no later than 30 days after
the remedies discovery period. Ripple shall file its opposition 30 days thereafter, and the SEC its
reply 15 days thereafter. The remedies briefs shall comply in all relevant respects with Rule III
Hon. Analisa
       Case Torres
             1:20-cv-10832-AT-SN Document 923 Filed 11/09/23 Page 2 of 2
November 9, 2023
Page 2

of this Court’s Individual Practices, including the length limitations set forth in Rule III.D
thereof.

                                                      Respectfully submitted,


                                                      Jorge G. Tenreiro

cc:            Counsel for Defendants (via ECF)
